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 1                     IN THE UNITED STATES DISTRICT COURT

 2                            FOR THE DISTRICT OF OREGON

 3                                 PORTLAND DIVISION

 4

 5    UNITED STATES OF AMERICA,                )
                                               )
 6                              Plaintiff,     )    No. 3:18-cr-00319-JO-01
                                               )
 7                      vs.                    )    August 31, 2018
                                               )
 8    MARK LEROY DENCKLAU,                     )    Portland, Oregon
                                               )
 9                             Defendant.      )

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13                            TRANSCRIPT OF PROCEEDINGS

14                               (Review of Detention)

15

16                       BEFORE THE HONORABLE PAUL PAPAK

17               UNITED STATES DISTRICT COURT MAGISTRATE JUDGE

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23    Court Reporter:                Ryan White, RMR, CRR, CSR/CCR
                                     United States District Courthouse
24                                   1000 SW 3rd Avenue, Room 301
                                     Portland, Oregon 97204
25                                   (503) 326-8184
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 1                                   APPEARANCES

 2

 3    For the Plaintiff:            UNITED STATES ATTORNEY'S OFFICE
                                    By: LEAH K. BOLSTAD
 4                                  leah.bolstad@usdoj.gov
                                    1000 SW 3rd Avenue, Suite 600
 5                                  Portland, Oregon 97204
                                    (503) 727-1125
 6

 7    For the Defendant:            LAW OFFICE OF ERIK E. EKLUND
                                    By: ERIK E. EKLUND
 8                                  erikeklundlaw@gmail.com
                                    333 SW Taylor Street, Suite 300
 9                                  Portland, Oregon 97204
                                    (503) 782-47955
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 1                           (August 31, 2018; 2:01 p.m.)

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 3                              P R O C E E D I N G S

 4

 5                 THE COURT:   Good afternoon, Ms. Bolstad.

 6                 MS. BOLSTAD:   Thank you, Your Honor.

 7                 Leah Bolstad for the United States.           The next matter

 8    on your docket is United States versus Mark Leroy Dencklau, case

 9    18-cr-319.    He's the first defendant in this three-defendant

10    case.

11                 Defendant is present.      He's in custody represented by

12    counsel, Mr. Eklund.      We're here for Mr. Dencklau's motion for

13    release pending trial.

14                 The government filed a memorandum today, Your Honor.

15    My apologies for the lateness of the filing.             I was on vacation

16    all of last week until Wednesday of this week.

17                 The government agrees with pretrial services.          We

18    recommend the detention of the defendant pending trial based on

19    the horrific nature of this offense -- it involves an interstate

20    kidnap and torture murder of a defendant -- of a victim -- and

21    defendant's release plan is not one that would satisfy the

22    statutory concern with having conditions that can fairly assure

23    the safety of the community and the defendant's appearance at

24    future court proceedings.       So we ask for detention.

25                 THE COURT:   Thank you.
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 1                Mr. Eklund, are you prepared to proceed at a detention

 2    hearing today?

 3                MR. EKLUND:    Actually, no, Your Honor.            And I

 4    apologize for not saying that up front.

 5                But given what the pretrial report -- and there's a

 6    lot of moving pieces in this case right now, and with

 7    Mr. Dencklau's -- Mr. Dencklau's references, one of whom is off

 8    the grid from last week -- which I didn't know when I set the

 9    hearing -- until next week.          So we'd ask to continue the matter

10    for three weeks if possible.

11                THE COURT:    I'm happy to do that.

12                Let me just talk to you a bit about what I see here so

13    we can be more efficient.

14                I haven't made a final decision if I were presented

15    with the evidence, except that I could say the current proposal

16    for his living situation is not acceptable, period.                  I mean he's

17    not going to live with a Gypsy Joker, period.               It's not going to

18    happen.   And so at a minimum you would need to come up with a

19    living condition that pretrial could check on and finds

20    satisfactory.

21                Then there's a second big question which is the issues

22    raised by the government about -- somewhat about failure to

23    appear stemming back to Utah.

24                More concerning, perhaps, is dangerousness, nature of

25    the offense, questions of intimidation of witnesses.                 All of
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 1    that, I haven't heard everything, so I'm not prepared to make a

 2    decision on that.

 3                But I think it's wise to wait until you have a

 4    satisfactory living place in mind approved by pretrial, and then

 5    this can be presented in one lump sum to whoever the magistrate

 6    judge is at that time.

 7                So it might be -- it might be simpler, more efficient,

 8    if I just deny your motion with leave to re-file and let you,

 9    when you're ready, re-file it and ask for a hearing, or I could

10    continue the hearing and let you set a date -- talk to

11    Ms. Bolstad when she's available and you are and your witnesses

12    are available -- before a magistrate judge rather than pick a

13    date three weeks from now because I don't think you know

14    standing here that that's necessarily a good date for you.

15                How does that sound?

16                MR. EKLUND:    I would prefer the continuance,

17    Your Honor.    And if I could find out when I talk to this one

18    other reference -- and obviously we're not, you know, conceding

19    the facts as set forth by the government in their memo or the

20    significance of those facts.         I am really prepared to litigate

21    that part of things.

22                But I take the Court's point well in terms of what the

23    plan is as of now, and we'd like to just develop that one piece,

24    and I expect that person back in town next week.

25                And I already talked to Ms. Bolstad about dates.        So
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 1    any time the week of September 17th works for the defense.              And

 2    I think --

 3                 THE COURT:    The 21st is three weeks.          Do you want to

 4    do the 21st at 1:30 before the duty magistrate judge, fine by

 5    me.   Or pick another date that week.

 6                 MS. BOLSTAD:   I cannot do the 20th or the 21st.          I

 7    could do the --

 8                 THE COURT:    You're on vacation again?

 9                 MS. BOLSTAD:   Sorry?

10                 THE COURT:    I was asking are you on vacation again.

11                 MS. BOLSTAD:   Not a chance.

12                 THE COURT:    19th?

13                 MS. BOLSTAD:   Yes, that works.

14                 THE COURT:    19th?

15                 MR. EKLUND:    Please.

16                 THE COURT:    All right.     Let's set it for the 19th of

17    September, 1:30 p.m., before the duty magistrate judge.

18                 Who's duty in September?        Is that Judge --

19                 THE CLERK:    I believe it should be Judge Beckerman.

20                 THE COURT:    Might be Judge Beckerman.          I'm not sure.

21    But whoever it is, you'll know well in advance.               So --

22                 MR. EKLUND:    Certainly.

23                 THE COURT:    -- September 19th, 1:30, and I'll continue

24    the motion so it won't be denied as moot or otherwise

25    denied -- you don't have to re-file, at least -- here on that,
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 1    and I'm assuming you'll both probably file some additional

 2    information for whoever the duty judge is to address some of

 3    those questions that I raised for that judge's consideration.

 4    All right.

 5                 MR. EKLUND:    Thank you, Your Honor.

 6                 MS. BOLSTAD:   Thank you, Your Honor.

 7                 THE COURT:    Anything else, then, today?

 8                 MR. EKLUND:    That's all for today, Your Honor.

 9                 THE COURT:    Thank you very much.

10                 MR. EKLUND:    Thank you.

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12          (The proceedings concluded at 2:06 p.m.)

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 1                              C E R T I F I C A T E

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 3                I certify, by signing below, that the foregoing is a

 4    true and correct transcript of the record, taken by stenographic

 5    means, of the proceedings in the above-titled cause.                A

 6    transcript without an original signature, conformed signature,

 7    or digitally signed signature is not certified.

 8

 9                DATED this 28th day of September, 2018.

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12                                         _______________________
                                           RYAN WHITE
13                                         Registered Merit Reporter
                                           Certified Realtime Reporter
14                                         Expires 9/30/2019
                                           Washington CCR No. 3220
15                                         Expires 10/25/2018
                                           Oregon CSR No. 10-0419
16                                         Expires 12/31/2020

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